Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 1 of 123




                    Exhibit A
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 2 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 3 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 4 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 5 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 6 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 7 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 8 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 9 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 10 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 11 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 12 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 13 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 14 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 15 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 16 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 17 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 18 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 19 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 20 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 21 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 22 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 23 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 24 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 25 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 26 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 27 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 28 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 29 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 30 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 31 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 32 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 33 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 34 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 35 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 36 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 37 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 38 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 39 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 40 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 41 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 42 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 43 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 44 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 45 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 46 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 47 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 48 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 49 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 50 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 51 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 52 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 53 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 54 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 55 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 56 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 57 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 58 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 59 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 60 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 61 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 62 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 63 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 64 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 65 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 66 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 67 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 68 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 69 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 70 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 71 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 72 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 73 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 74 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 75 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 76 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 77 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 78 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 79 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 80 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 81 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 82 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 83 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 84 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 85 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 86 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 87 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 88 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 89 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 90 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 91 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 92 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 93 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 94 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 95 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 96 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 97 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 98 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 99 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 100 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 101 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 102 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 103 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 104 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 105 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 106 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 107 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 108 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 109 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 110 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 111 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 112 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 113 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 114 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 115 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 116 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 117 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 118 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 119 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 120 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 121 of 123
Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 122 of 123
                      Case 2:23-cv-04109-PD Document 1-1 Filed 10/25/23 Page 123 of 123


    Case #2022-22951
            Case Number        2022-22951
    Commencement Date          11/25/2022
          Last Filing Date     6/9/2023
               Days Open       334
                Case Type      Summons Civil Action
             PFA Number
          Caption Plaintiff    UNG, SOMALY
       Caption Defendant       TD BANK NA
    Lis Pendens Indicator      No
                    Status     2 - OPEN
                    Judge      SALTZ
                 Remarks
                    Sealed     No
       Interpreter Needed
Plaintiffs
Name                Address                                           Country          Counsel          Notify         Sequence         Status
UNG, SOMALY         3121 BROOKVIEW PLACE                              UNITED STATES    PIONTEK, VICKI   Yes            1
                    ELKINS PARK, PA 19027 UNITED STATES



Defendants
Name                                Address                                  Country         Counsel          Notify       Sequence     Status
TD BANK NA                       54 QUAKER RD                               UNITED STATES                     Yes          1
                                 QUEENSBURY, NY 12804 UNITED STATES
TD BANK NA                       1 PORTLAND SQUARE                          UNITED STATES                     Yes          2
                                 PORTLAND, ME 04112 UNITED STATES
XYZ CORPORATIONS 1-10            UNKNOWN                                    UNITED STATES                     Yes          3
                                 , UNITED STATES



Docket Entries
                   Filing                                                                                                                Filing
Seq.               Date               Docket Type             Docket Text                                                      Sealed    ID
0                  11/25/2022        Summons Civil Action                                                                      No        13742809
1                  11/25/2022        Attorney To Proceed In                                                                    No        13742810
                                     Forma Pauperis
3                  1/25/2023         Order - Other            (CIVIL CASE MANAGEMENT) OF 1/25/23 KEHS,CA FACT DISCOVERY TO BE No         13808425
                                                              COMPLETED WITHIN 9 MONTHS RULE 236 NOTICE PROVIDED ON
                                                              01/25/2023
4            E     6/9/2023          Complaint In                                                                              No        13979350
5            E     6/9/2023          Praecipe                 TO AMEND CAPTION TO AD ADDITIONAL ADDRESS OF DEFENDANT           No        13979481
6            E     6/9/2023          Amended Complaint                                                                         No        13980260
